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Appellate Bisision of the Supreme Court
of the State of Nef Bork
Hirst Judicial Department

J, Susanna Rojas, Clerk of the Appellate Disision of the
Supreme Conrt of the State of New Work, First Judicial
Department, certify that

DIANA ARLEN AGUILAR ALDAPE
fas duly licensed and admitted to practice as an Attorney and
Counsellor at Lat in all the courts of the State of New Vork on
Hlay 20, 2013, has duly taken ad subscribed the oath of office
prescribed by latu, has been enrolled in the Roll of Attorneys and
Counsellors at Lat on file it my office, has duly registered mith
the administrative office of the courts, and according to the records
of this court is in good standing as an attorney and counsellor at

lato.

Iu Mitvess Whereaf, J habe hereunto set my
hand and affixed the seal of this court on

Mag 23,2013 —

3833 Clerk of the Court
